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 B A O 245D      (Rev. 12/03)Judgment in a Criminal Case for Revocations




                         SOUTHERN                                     District of                                  ILLINOIS

           UNITED STATES O F AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                               v.                                            (For Revocation of Probation or Supervised Release)
                    CLINTON WATERS,
                                                                             Case Number: 00CR40027-002-JPG
                                                                             USM Number: 05013-025
                                                                              Judith A. Kuenneke, FPD
                                                                             Defendant's Attorney
THE DEFENDANT:
$L     admitted guilt to violation of condition(s) a s alleged in petition                    of the term of
       was found in violation of condition(s)                                             after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                    Nature of Violation                                                              Yiolation Ended
     Statutoly                       The defendant w a s arrested by Williamson County Sheriffs                       2/5/2006


     Standard # 11                   T h e defendant failed to advise probation of his arrest                         2/5/2006


       The defendant is sentenced as provided in pages 2 through                         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
       The defendant has not violated condition(s)                                    and is discharged as to such violation(s) condition.

          It is ordered that the defendant must noti the United States attorney for this district within 30 days of any
                                                           ?
change of name, residence, or mailing address untl all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Defendant's Soc. Sec No.:      6    1    9    2
Defendant's Date of Birth:                   197 7
                                                                                       , ,n
                                                                                       UGdgc
Defendant's R-idence Address:

 Marion, IL 62959
                                                                              J. Phil Gilbert                                 District Judge
                                                                             Name of Judge                                 Title of Judge


                                                                                -
                                                                             Date
                                                                                                                       &6
Defendanfs Mailing Address:

 S a m e as above
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    A 0 24SD                     (Rev. 12/03) Judgment in a Criminal Case for Revocations
                                 Sheet I A


        DEFENDANT: CLINTON WATERS,
                                                                                                                                                                                                    Judgment-Page                 2of
        CASE NUMBER: 00CR40027-002-JPG

                                                                                                     ADDITIONAL VIOLATIONS
                                                                                                                                                                                                                                            Violation
    Violation Number                                               Nature of Violation                                                                                                                                                      Concluded
        Special                                                         The defendant failed to call On-Site Drug Testing Program                                                                                                                211512006




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  A 0 245D   (Rev. 12/03 Judgment in a Criminal Case for Revocations
             Sheet 2- Imprisonment

                                                                                                      Judgment-   Page   3of
  DEFENDANT: CLINTON WATERS,
  CASE NUMBER: 00CR40027-002-JPG


                                                               IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to he imprisoned for a
  total term o f :
24 months




       @ The court makes the following recommendations to the Bureau of Prisons:
That the defendant have mental health counseling while with BOP



       !$ The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:
               at                                       a.m.           p.m.    on
               as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before 2 p.m. on
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.

                                                                       RETURN
  I have executed this judgment as follows:




          Defendant delivered on                                                         to

  at                                                   with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                              BY
                                                                                                 DEPUTY UNITED STATES MARSHAL
